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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X
In re                                                    :
                                                         :
                                                         :
MAYRA I. COFFIE,                                         :
                                                         :          Case No. 18-11815-cgm
                                                         :
                                      Debtor.            :          Chapter 13
--------------------------------------------------------X

                               ORDER DISMISSING CHAPTER 13 CASE

         Mayra I. Coffie (the “Debtor”) having moved this Court pursuant 11 U.S.C. § 1307(b) to

dismiss her Chapter 13 case; the Debtor having moved by Notice of Presentment of her proposed

dismissal order; all creditors and parties in interest having received notice of her request; no

objections having been filed, and it appearing that dismissal of her case is warranted;

         NOW, on Motion of the Debtor, it is hereby

         ORDERED, that the Debtor’s Chapter 13 case is hereby dismissed pursuant to 11 U.S.C.

§ 1307(b).




                                                                     /s/ Cecelia G. Morris
                                                                     _______________________
Dated: October 31, 2019
                                                                     Hon. Cecelia G. Morris
      Poughkeepsie, New York
                                                                     Chief U.S. Bankruptcy Judge
